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                                                                              (SPACE BELOW FOR FILING STAMP ONLY)
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      NUTTALL COLEMAN & DRANDELL
 2    2333 MERCED STREET
      FRESNO, CALIFORNIA 93721
 3    PHONE (559) 233-2900
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 4

 5
      ATTORNEYS FOR Defendant,
 6                    JOSEPH MAR

 7

 8                                 UNITED STATES DISTRICT COUNT
 9                                 EASTERN DISTRICT OF CALIFORNIA

10
      UNITED STATES OF AMERICA,                        Case No: 1:14-CR-00226–DAD-BAM
11
                     Plaintiffs,
12                                                             WAIVER OF APPEARANCE
13           v.                                                        AND
                                                                 [PROPOSED] ORDER
14    JOSEPH MAR,

15                   Defendants.

16

17    TO:    THE UNITED STATES DISTRICT COURT; UNITED STATES ATTORNEY'S
18           OFFICE and/or ITS REPRESENTATIVES:
19
             Defendant, JOSEPH MAR, by and through his attorney MARK W. COLEMAN, of
20
      NUTTALL & COLEMAN, hereby applies to this court for an Order waiving his appearance at
21
      the Status Conference currently set for January 22, 2018 at 1:00 p.m., before Magistrate Judge
22
      Barbara A. McAuliffe.
23
             The reason for this request is that Mr. Mar lives in Ceres, California, and does not have
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      sufficient available paid time off with his employer, and in order to come to court he would
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      have to take a full day off work.
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 1           It is not anticipated that anything dispositive will occur on January 22, 2018, other than

 2    the case being confirmed for Trial, which has been discussed with Mr. Mar.
 3           Mr. Mar has been in continued contact with his attorney, and gives his attorney full
 4    power to act on his behalf. The matter of the Status Conference has been discussed and Mr.
 5
      Mar is satisfied that all relative matters have been adequately discussed.
 6
             It is hereby requested that Joseph Mar’s appearance at the hearing on January 22, 2018,
 7
      at 1:00 p.m. be excused.
 8
      DATED: January 19, 2018.              Respectfully submitted,
 9
                                            NUTTALL COLEMAN & DRANDELL
10
                                            /s/ Mark W. Coleman
11
                                            MARK W. COLEMAN
12
                                            Attorney for Defendant,
13                                          JOSEPH MAR

14
                                                  ******
15
                                           [PROPOSED] ORDER
16
             GOOD CAUSE APPEARING,
17
             IT IS HEREBY ORDERED that Defendant, Joseph Mar, is hereby excused from
18
      appearing at the Status Conference currently scheduled for January 22, 2018, at 1:00 p.m.
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21    IT IS SO ORDERED.

22       Dated:     January 19, 2018                           /s/ Barbara A. McAuliffe             _
23                                                       UNITED STATES MAGISTRATE JUDGE

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